              Case 2:08-cr-00543-KJM Document 237 Filed 05/21/10 Page 1 of 1


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 7
                                   UNITED STATES DISTRICT COURT
 8
                      IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     United States of America,                      )   Case No.: Cr.S-08-543-GEB
11                                                  )
                      Plaintiff,                    )
12                                                  )   ORDER TO MODIFY AND CONTINUE
            vs.                                     )   JIMMY AU’S SELF-SURRENDER DATE
13                                                  )   FROM MAY 28, 2010 TO JUNE 10, 2008
     Jimmy Au, et.al.,                              )
14                                                  )   JUDGE: Hon. Garland E. Burrell, Jr.
                      Defendants                    )
15                                                  )
16
                                                 ORDER
17

18          IT IS HEREBY ORDERED that with respect to defendant Jimmy Au, the previously
19   ordered self-surrender date of May 28, 2010 is modified and a new and different self-surrender
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     date of June 11, 2010 before 2:00 p.m. is hereby ordered.
21
     IT IS SO ORDERED.
22
     Dated: 5/20/10
23                                             GARLAND E. BURRELL, JR.
                                               United States District Judge
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